                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

  UNITED STATES OF AMERICA                       )
                                                 )        Case No. 4:19-cr-30
  v.                                             )
                                                 )        Judge Travis R. McDonough
  MICAH HILL                                     )
                                                 )        Magistrate Judge Christopher H. Steger
                                                 )


                                              ORDER



          United States Magistrate Judge Christopher H. Steger filed a report and recommendation

 [Doc. 22] recommending that the Court: (1) grant Defendant’s motion to withdraw his not guilty

 plea to Count One of the one count Indictment; (2) accept Defendant’s guilty plea to Count One

 of the one count Indictment; (3) adjudicate Defendant guilty of possession with intent to

 distribute 50 grams or more of a mixture and substance containing methamphetamine in

 violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B); and (4) order that Defendant remain in

 custody pending sentencing or further order of this Court.

          After reviewing the record, the Court agrees with Magistrate Judge Steger’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation [Doc. 22] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as

 follows:

       1. Defendant’s motion to withdraw his not guilty plea to Count One of the one count

          Indictment is GRANTED;

       2. Defendant’s plea of guilty to Count One of the one count Indictment is ACCEPTED;




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    3. Defendant is hereby ADJUDGED guilty of possession with intent to distribute 50 grams

       or more of a mixture and substance containing methamphetamine in violation of 21 U.S.C.

       §§ 841(a)(1) and 841(b)(1)(B); and

    4. Defendant SHALL REMAIN in custody until further order of this Court or sentencing in

       this matter which is scheduled to take place before the undersigned on December 11, 2020,

       at 9:00 a.m.

    SO ORDERED.


                                            /s/Travis R. McDonough
                                            TRAVIS R. MCDONOUGH
                                            UNITED STATES DISTRICT JUDGE




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